Case 1:13-cv-13086-JGD Document 38-9 Filed 07/15/15 Page1of2

Exhibit H
Case 1:13-cv-13086-JGD Document 38-9 Filed 07/15/15 Page 2 of 2

Chantelle D'Angelo
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From: Chantelle D'Angelo

Sent: Monday, June 01, 2015 3:58 PM
To: ‘Dmitry Lev, Esq.’

Ce: Douglas Louison

Subject: RE: Niles matter

Attachments: Niles Liens.pdf

Attorney Lev-~in reviewing that document (attached above) pages 1-3 have been omitted. Can you please forward the
entire document.

lam still awaiting a written response to the supplemental Interrogatories and Request for Production of Documents |
sent back in February. Further, please advise to the timeline in receiving the remaining medical records and bills—they
were requested in the first request for production of documents and they remain incomplete. While | appreciate the
medicals you sent Friday, as you pointed out yourself, | am missing the bulk of Mr. Niles’ treatment.

Chantelle D'Angelo, Esq.

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